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                          UNITED STATES DISTRICT COURT
                                      FOR THE
                            DISTRICT OF NEW HAMPSHIRE
_________________________________________
Robert Vozzella, Personal Representative   )
of the Estate of Judith Vozzella, and       )
Robert Vozzella, in his individual          )
Capacity                                    )
                                            )
Plaintiff                                   )   JURY TRIAL DEMANDED
                                            )   1:11-cv-00175-PB
v.                                          )
                                            )
HCA Health Services of New Hampshire, Inc., )
d/b/a Portsmouth Regional Hospital,         )
and                                         )
Appledore Medical Group II, Inc., d/b/a      )
 Coastal Cardiothoracic & Vascular Assoc.    )
                                             )
Defendants                                   )
_________________________________________ )

                            FIRST AMENDED COMPLAINT

      The Plaintiffs bring this action for medical injury and wrongful death pursuant
to RSA 507-E and RSA 556:12 against Defendants.

                                         PARTIES

      1.       At all relevant times the Plaintiff, Robert Vozzella, was a citizen of the
               State of Maine, residing at 403 Goodwin Road, Eliot, ME 03903, and is the
               personal representative of the Estate of Judith Vozzella, having been duly
               appointed by the York County Probate Court on January 15, 2010.

      2.       Judith Vozzella resided at 403 Goodwin Road, Eliot, ME 03903, prior to
               her death and was a domiciliary of the State of Maine. Mrs. Vozzella’s
               date of birth was December 15, 1948.

      3.       The Plaintiff, Robert Vozzella, is a resident of the State of Maine and lives
               at 403 Goodwin Road, Eliot, ME 03903. He is the surviving husband of
               Judith Vozzella, having been married to her on May 19, 1973.

      4.       The Defendant, HCA Health Services of New Hampshire, Inc. d/b/a


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         Portsmouth Regional Hospital is a private corporation that is incorporated
         in the State of New Hampshire which does business as Portsmouth
         Regional Hospital, a hospital located at 333 Borthwick Avenue in
         Portsmouth, New Hampshire, (hereinafter “Portsmouth Regional
         Hospital”).

5.       At all times relevant herein, Portsmouth Regional Hospital acted by and
         through its administrators, officers, employees, staff, agents and ostensible
         agents for the purpose of operating its business as a hospital, medical
         center and health care provider and is therefore liable for the negligent
         acts and misconduct of said administrators, officers, employees, staff,
         agents and ostensible agents under the legal doctrine of vicarious liability.

6.       At all times relevant herein, Portsmouth Regional Hospital extended
         privileges to health care providers based on a credentialing process and
         held itself out to members of the general public including Mr. and Mrs.
         Vozzella as a provider of competent medical care and other health care
         services in this facility in accordance with the accepted standard of care
         amongst similar health care providers and as such owed duties to the
         Vozzellas including but not limited to its duty to: a) protect the members
         of the general public from foreseeable injury by practicing within the
         standard of care; b) provide the timely examination, test, and diagnosis of
         any and all medical conditions reasonably expected or discovered; c)
         provide appropriate treatment and care of the patient ; and d) provide any
         other medical services that a reasonably prudent and competent health
         care provider would administer under the same or similar circumstances.

7.       Defendant, Appledore Medical Group II, Inc.d/b/a Coastal
         Cardiothoracic and Vascular Associates (hereinafter Appledore) is a
         corporation registered in New Hampshire with a principal place of
         business at One Park Plaza, Nashville, TN and operating in New
         Hampshire at 333 Borthwick Avenue in Portsmouth, New Hampshire,
         County of Rockingham with a registered agent identified as CT
         Corporation, 9 Capitol Street, Concord, NH 03301.

8.       At all times relevant herein, Appledore is alleged to have registered the
         trade name Coastal Cardiothoracic & Vascular Associates and to have
         employed various care providers including doctors and physicians
         assistants who provided care to Judith Vozzella at Portsmouth Regional
         Hospital.

9.       Defendant Appledore acted by and through its administrators, officers,
         employees, staff, agents and ostensible agents for the purpose of operating


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      its business as a medical center and health care provider and is therefore
      liable for the negligent acts and misconduct of said administrators,
      officers, employees, staff, agents and ostensible agents under the legal
      doctrine of vicarious liability.

10.   At all relevant times, Appledore held itself out to members of the general
      public including Mr. and Mrs. Vozzella as a provider of competent
      medical care and other health care services in this facility in accordance
      with the accepted standard of care amongst similar health care providers
      and as such owed duties to the Vozzellas including but not limited to its
      duty to: a) protect the members of the general public from foreseeable
      injury by practicing within the standard of care; b) provide the timely
      examination, test, and diagnosis of any and all medical conditions
      reasonably expected or discovered; c) provide appropriate treatment and
      care of the patient ; and d) provide any other medical services that a
      reasonably prudent and competent health care provider would administer
      under the same or similar circumstances.


                          JURISDICTION & VENUE

11.   This court has jurisdiction over the parties and the causes of action alleged
      herein pursuant to 28 USC §1332 due to the diversity of the citizenship of
      the parties and the amount in controversy which exceeds $75,000.

12.   Venue lies in this District pursuant to 28 U.S.C. § 1391 because the claims
      arose in the District of New Hampshire.

                                     FACTS

13.   Robert Vozzella was married to Judith Vozzella (Judith) who died on June
      19, 2009 at age 60.

14.   On April 12, 2009 Judith was admitted to the York County Hospital in
      York, Maine with nausea, vomiting and diarrhea.

15.   On April 20, 2009 Judith was transferred to the Portsmouth Regional
      Hospital in Portsmouth, New Hampshire, with a diagnosis of stroke, i.e.,
      left sided cerebrovascular accident, (“CVA”) and myocardial infarction
      due to septic emboli caused by mitral valve endocarditis with an emergent
      need for surgical mitral valve replacement.

16.   Caregivers at Portsmouth Regional Hospital confirmed that Judith was


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      not suffering with pressure ulcers on her buttocks or elsewhere upon her
      admission to Portsmouth Regional Hospital.

17.   Records confirm that Physician’s Assistant Mark Sullivan, an Appledore
      employee who worked under the supervision of Dr. Donato Sisto, also an
      Appledore employee, undertook a history and physical of Judith on April
      20, 2009 and determined the need for a mitral valve replacement surgery
      that was to be performed on April 21, 2009.

18.   At the time of the history and physical, prior to surgery, Appledore
      identified that Judith suffered with diabetes, severe peripheral vascular
      disease and was a smoker,

19.   On April 21, 2009 Dr. Donato Sisto, assisted by Mark Sullivan, PA-C
      performed mitral valve replacement surgery on Judith, which began at or
      about 12:47 and was completed at or about 17:38.

20.   Dr. Sisto placed an aortic arterial line through an innominate artery to
      provide blood pressure readings.

21.   Per the Joint Commission/World Health Organization protocol, a “time
      out” was performed at 12:45 with the surgical team which included the
      surgical nurses, Dr. Sisto and PA Mark Sullivan; however the surgical
      team did not discuss the use of an innominate arterial line or the fact that
      Judith would not be turned after surgery.

22.   On April 21, 2009, following surgery, Judith was transferred in the
      operating room from a table onto a stretcher, with the innominate line in
      place, and was then taken to the Intensive Care Unit of the Portsmouth
      Regional Hospital.

23.   The circulating nurse from the operating room performing the hand-off
      was unaware of the innominate arterial line and unaware of any orders
      with regard to turning Judith thus did not communicate same during the
      hand off to ICU.

24.   Because of the innominate arterial line, at some point after surgery, Dr.
      Sisto ordered that Judith was not to be turned as indicated by the April 21,
      2009 Physician’s Order entry, signed by Defendant Mark Sullivan, PA
      which states: “Do not turn patient due to innominate arterial line.”




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25.   During the post operative period from April 21, 2009 through April 24,
      2009, Judith Vozzella was under the care of providers from Coastal
      Cardiothoracic & Vascular Associates, including but not limited to Dr.
      Sisto, Physician Assistants Mark Sullivan, G. Looser, Michael Cinilia, Kim
      Miller, all of whom were employees of Appledore as well as caregivers
      from Portsmouth Regional Hospital including but not limited to nurses
      Peggy Dullinger, Erin Gauthier, Crystal Adams, Barbara Ripley, Richard
      Cooper, Leonard Mullins, Kathryn Badger, Denise Maclatchy, Pamela
      Hockhousen, and Courtney Audette

26.   No further instructions were given with the no turn order relative to what
      the order actually required and neither the Appledore doctors and
      physician’s assistants nor the nurses at Portsmouth Regional Hospital
      discussed the full intent of the order.

27.   At the time Dr. Sisto issued the no turn order, he did not consider whether
      Judith’s other health issues such as diabetes, peripheral vascular disease
      and high blood pressure combined with immobility would put her at risk
      for developing pressure ulcers.

28.   Neither Appledore nor the nurses at Portsmouth Regional Hospital
      discussed or considered the use of a special, pressure relieving surface in
      light of the no turn order.

29.   In fact, at the time, Dr. Sisto only had a vague understanding of available
      specialty beds.

30.   Multidisciplinary rounds took place on the morning of April 22, 2009 and
      the wound care coordinator, Erin Gauthier, an employee of Portsmouth
      Regional Hospital participated in those rounds but failed to communicate
      any concerns with the no turn order and failed to raise any concerns about
      the surface/stretcher upon which Judith remained.

31.   From April 21, 2009 until April 24, 2009, Judith remained supine and
      immobile on the stretcher, sedated and unable to advocate for herself.

32.   During the post-surgery period from April 21, 2009 to April 24, 2009,
      nurses conducted Braden Score assessments which continually scored
      Judith at high risk for development of pressure sores and called for certain
      interventions including but not limited to repositioning every 2 hours,
      consideration of pressure relieving surface (if bed or chairbound), and
      education on pressure ulcers to patient and family.



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33.   During that same period, and prior to surgery, there was in place a policy
      at Portsmouth Regional Hospital titled: Wound Care: Prevention,
      Treatment, Dressing and Irrigation that outlined a protocol for risk
      identification, risk reduction of hospital acquired pressure sores and
      indicated that a Braden Score of 16 or less should result in wound care
      coordinator notification and individualized recommendations for the
      patient including use of a therapeutic surface.

34.   Despite this, nurses and other caregivers at Portsmouth Regional Hospital
      failed to appropriately communicate the Braden scores of far less than 16,
      the risks of developing hospital acquired pressure sores or the preventions
      therefore to Dr. Sisto or other caregivers.

35.   This is so even though Nurse Crystal Adams, who worked the immediate
      post-surgery overnight shift from April 21, 2009 to April 22, 2009,
      recognized the no turn order as an “abnormality that deviated from the
      standard of care”.

36.    Furthermore, Dr. Sisto and other Appledore employees who were caring
      for Judith failed to explain the no turn order and what was or was not
      allowed for addressing development of pressure sores.

37.   None of the Appledore or Portsmouth Regional Hospital care providers
      planned for or took any appropriate preventative steps during the
      immediate post-operative patient transfer or subsequently thereafter to
      transfer Judith to an appropriate specialty bed or mattress or to otherwise
      address the highly probable occurrence of a “never event”, i.e., the
      development of hospital acquired decubitus ulcers, nor did they
      communicate such risks and needs to her surgeon or his staff.

38.   Although the records are devoid of details, on April 24, 2009 a massive
      hospital-acquired Stage IV bilateral decubitus ulcer of the buttocks was
      discovered on Judith’s backside.

39.    At that same time and place, on Friday, April 24, 2009, Appledore
      employee PA Looser asked for a wound care consultant, Erin Gauthier,
      R.N., in the nursing department at Portsmouth Regional Hospital to
      examine Judith to address the worsening ulcers.

40.   Nurse Gauthier had already left for the weekend and did not come in to
      examine Judith but advised that she should be turned every 2 hours and
      placed on a rotating bed.



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41.   At that time, despite still having the innominate arterial line in place, Dr.
      Sisto and/or other Appledore care providers indicated that Judith could
      be turned per protocols for appropriate management.

42.   At or about 16:00 on April 24, 2009, though the innominate arterial line
      was still in place, for the first time since her surgery, Judith was
      transferred from the stretcher to a sport/rotating bed and was turned by
      the nursing staff every 2 hours.

43.   No other wound consult took place until Monday, April 27, 2009.

44.   During the three days from April 21, 2009 to April 24, 2009, Defendants,
      failed to take any appropriate steps to prevent Judith from developing
      hospital acquired decubitus ulcers and in fact did not have any
      appropriate preventative wound care plan in place.

45.   Portsmouth Regional Hospital and Appledore failed to protect Judith
      Vozzella from the worst possible outcome by not providing preventative
      measures for skin breakdown as required by the standard of care,
      including their own policies, for three consecutive days.

46.   Portsmouth Regional Hospital and Appledore caregivers failed to discuss
      or pursue an alternative plan of care for the prevention of the
      development of pressure ulcers relating to a sedated post-operative
      immobile patient with a clinical history of global vascular disease, insulin-
      dependent Diabetes Mellitus Type II, and a left sided CVA.

47.   Although Judith was identified as incontinent of stool from admission, no
      rectal tube was used to prevent contamination until April 24, 2009.

48.   On the late evening of April 21, 2009, Nurse Crystal Adams documented
      that Judith had a bowel movement that required Judith to be cleaned
      without turning her which she attempted by pushing the mattress down,
      reaching underneath her and using wipes while an LNA watched the
      innominate line.

49.   Furthermore, though a rectal tube was used beginning April 24, 2009, the
      Nursing Department and other medical caretakers at the hospital failed to
      appropriately secure the tube, which fell out at least three times, resulting
      in fecal contamination of the ulcer.

50.   On April 28, 2009, a general surgery consult was ordered and surgery was
      performed on April 29, 2009, five days subsequent to the discovery of the


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      hospital-acquired decubitus ulcers.

51.   The first debridement of the unstageable decubitus ulcer was attempted
      on April 30, 2009 and it revealed a Stage IV decubitus ulcer with: necrotic
      skin and muscle of the buttocks bilaterally; necrotic subcutaneous tissue
      and muscle with extensive soft tissue loss; a complete loss of the medial
      gluteal muscle down to the bone, secondary to the necrosis; and extensive
      exposure of the sacrum.

52.   On April 20, 2009, at the time of the transfer to Portsmouth Regional
      Hospital, Judith was known to be an extremely high-risk patient for the
      development of pressure ulcers with an abnormally low albumin level
      pre-operatively and a history of a recent previous myocardial infarction
      and CVA, global peripheral vascular disease and Type II insulin-
      dependent diabetes.

53.   On admission to Portsmouth Regional Hospital Judith’s skin was
      bilaterally intact on her backside and buttocks.

54.   Aggressive wound care intervention to prevent and treat the hospital-
      acquired decubitus ulcer was not coordinated and not begun until six
      days after admission and three days following discovery of the ulcer.

55.   Judith underwent additional debridement surgery on May 20, 2009.

56.   On or about the time of her discharge, doctors indicated that given the
      extent of her hospital acquired decubitus ulcer, and “the extent of the
      removal of her gluteus muscles and exposure of bone, the possibility of
      her ability to walk again was negligible”; that Judith “would likely not
      even be able to tolerate sitting in a wheelchair”; that Judith is “essentially
      bed bound” and that she “continued to have pain problems. “ and would
      be unable to return home or to her previous level of activity or quality of
      life.

57.   After approximately two months of unremitting pain and suffering from
      the hospital acquired decubitus ulcer and necessary treatment therefore,
      Judith died due to complications from the ulcers.


                    COUNT I – MEDICAL MALPRACTICE
                   PORTSMOUTH REGIONAL HOSPITAL

58.   Plaintiff repeats and realleges every allegation in paragraphs 1-57 as


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      though fully set forth herein.

59.   At all relevant times, Defendant Portsmouth Regional Hospital was
      vicariously liable for the negligent care and treatment provided to Judith
      by its employees and agents as set forth herein.

60.   At all relevant times, Defendant Portsmouth Regional Hospital had a duty
      to provide treatment to Judith Vozzella that fell within the standard of
      care that an ordinary, prudent caregiver would exercise under the same or
      similar circumstances.

61.   Immobilization and the lack of appropriate interventions in Judith’s
      critical clinical setting created a known risk of developing skin breakdown
      and ultimately was the direct, proximate and foreseeable cause of the
      hospital-acquired decubitus ulcer.

62.   There is an absence of documentation covering the three-day post-
      operative period justifying the arterial line compared with the likely
      problem of skin breakdown.

63.   Given Judith Vozzella’s medical status and the duration of her
      immobilization on a stretcher, Defendant Portsmouth Regional Hospital
      knew or should have known that a hospital-acquired serious skin
      breakdown would occur and in fact did know that she was at high risk for
      development of pressure ulcers as evidenced by her Braden Score
      assessments.

64.   Defendant Portsmouth Regional Hospital, through the acts of its
      employees and agents and failed supervision, breached the standard of
      care by failing to communicate, develop and/or implement an
      appropriate plan of care to prevent the development of hospital acquired
      decubitus ulcers including but not limited to allowing Judith to remain
      supine and immobilized on an operating room stretcher for days without
      providing appropriate interventions.

65.   Defendant also breached its duty to provide informed consent, as
      evidenced by the absence of documentation, neither Judith Vozzella nor
      her family were informed of the risks associated with immobilization on
      an operating room stretcher in the clinical setting presented.

66.   The professional negligence by the Defendant is a deviation from the
      applicable standard of care of health care practitioners in the area, to
      provide reasonable care and safe treatment to Judith for her medical


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       problems.

67.    The Defendant breached the standards set forth in their own policy
       relative to wound care and prevention and other recognized standards for
       wound care and prevention including but not limited to standards set
       forth by the World Health Organization Joint Commission.

68.   As the direct, proximate and foreseeable result of the negligence and breach
      of the standards of care aforesaid, Judith Vozzella developed a Stage IV
      hospital-acquired decubitus ulcer of the buttocks bilaterally, sustained
      severe damages, endured unremitting pain and suffering, underwent
      relentless painful surgical procedures and invasive interventions, incurred
      substantial medical bills for treatment and died on June 19, 2009.


                     COUNT II – WRONGFUL DEATH
                   PORTSMOUTH REGIONAL HOSPITAL

69.    Plaintiff repeats and realleges every allegation in paragraphs 1-68 as
       though fully set forth herein.

70.    As a direct and proximate result of the Defendant’s negligent acts and
       omissions and breaches of the standard of care, Judith Vozzella
       developed a Stage IV hospital-acquired decubitus ulcer of the buttocks
       bilaterally, sustained severe damages, endured unremitting pain and
       suffering, underwent relentless painful surgical procedures and invasive
       interventions, all of which directly and proximately resulted in the
       shortening of the probable duration of her life and her ultimate untimely
       death on June 19, 2009.

71.    Also as the direct, proximate and foreseeable result of Defendant’s
       negligence, the Estate of Judith Vozzella incurred substantial medical bills
       for treatment and other reasonable expenses occasioned to her estate
       which contributed to and directly led to her progressive clinical decline,
       physically, mentally, spiritually emotionally, and ultimately her untimely
       death.

72.    Wherefore, the Plaintiff’s Estate claims damages allowed by law for the
       mental and physical pain suffered by her in consequence of the injury, the
       reasonable expenses occasioned to her estate by the injury, the shortened
       duration of her life and the resulting loss of enjoyment of life caused by
       the injury, and all other elements of damages that may be recovered under
       RSA 556:12.


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                  COUNT III – MEDICAL MALPRACTICE
                              APPLEDORE

73.   Plaintiff repeats and realleges every allegation in paragraphs 1-72 as
      though fully set forth herein.

74.   At all relevant times, Defendant Appledore was vicariously liable for the
      negligent care and treatment provided to Judith by its employees and
      agents as set forth herein.

75.   At all relevant times, Defendant Appledore had a duty to provide
      treatment to Judith Vozzella that fell within the standard of care that an
      ordinary, prudent physician or physician’s assistant would exercise under
      the same or similar circumstances.

76.   Defendant Appledore knew or should have known that the use of an
      innominate line was not medically justifiable under the circumstances and
      that the decision to place such a line put Judith Vozzella at unnecessary
      risk in that it resulted in the “no turn” order.

77.   In addition, even if the innominate line was medically justifiable under the
      circumstances, Appledore breached the standard of care by failing to
      communicate, develop and/or implement an appropriate plan of care to
      prevent the development of hospital acquired decubitus ulcers with the
      line in, which breach includes but is not limited to allowing Judith to
      remain supine and immobilized on an operating room stretcher without
      providing appropriate interventions.

78.   Immobilization and/or the lack of appropriate interventions in this critical
      clinical setting created a known risk of developing skin breakdown and
      ultimately was the direct, proximate and foreseeable cause of the hospital-
      acquired decubitus ulcer.

79.   There is an absence of documentation covering the three-day post-
      operative period justifying the arterial line compared with the likely
      problem of skin breakdown.

80.   Given Judith Vozzella’s medical status and the duration of her
      immobilization on a stretcher, Defendant knew or should have known
      that a hospital-acquired serious skin breakdown would occur and in fact


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       did know that she was at high risk for development of pressure ulcers as
       evidenced by her Braden Score assessments.

81.    As set forth above, Defendant Appledore, through the acts of its
       employees and failed supervision, breached the standard of care by failing
       in their duty to protect Judith from injury and death by allowing her
       complete immobilization with the omission of a plan of care for the
       prevention of the development of decubitus ulcers specific to the
       immobilized, sedated post-operative patient and by failing to
       communicate such risks to Judith’s care providers so that appropriate
       interventions could be employed.

82.    The alleged professional negligence by the Defendant Appledore is a
       deviation from the applicable standard of care of health care practitioners
       in the area to provide reasonable care and safe treatment to Judith
       Vozzella for her medical problems.

83.    Defendant also breached its duty to provide informed consent, as
       evidenced by the absence of documentation, neither Judith Vozzella nor
       her family were informed of the risks associated with immobilization on
       an operating room stretcher in the clinical setting presented.

84.    The professional negligence by the Defendants is a deviation from the
       applicable standard of care of health care practitioners in the area to
       provide reasonable care and safe treatment to Judith for her medical
       problems.


85.   As the direct, proximate and foreseeable result of the negligence and breach
      of the standards of care aforesaid, Judith Vozzella developed a Stage IV
      hospital-acquired decubitus ulcer of the buttocks bilaterally, sustained
      severe damages, endured unremitting pain and suffering, underwent
      relentless painful surgical procedures and invasive interventions, incurred
      substantial medical bills for treatment and other expenses and died on June
      19, 2009.


                      COUNT IV – WRONGFUL DEATH
                              APPLEDORE

86.    Plaintiff repeats and realleges every allegation in paragraphs 1-85 as
       though fully set forth herein.



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      87.    As a direct and proximate result of the Defendant Appledore’s negligent
             acts and omission and breaches of the standard of care, Judith Vozzella
             developed a Stage IV hospital-acquired decubitus ulcer of the buttocks
             bilaterally, sustained severe damages, endured unremitting pain and
             suffering, underwent relentless painful surgical procedures and invasive
             interventions, all of which directly and proximately resulted in the
             shortening of the probable duration of her life and her ultimate untimely
             death on June 19, 2009.

      88.    Also as the direct, proximate and foreseeable result of Defendant’s
             negligence, the Estate of Judith Vozzella incurred substantial medical bills
             for treatment and other reasonable expenses occasioned to her estate.
             which contributed to and directly led to her progressive clinical decline,
             physically, mentally, spiritually emotionally, and ultimately her untimely
             death.

      89.    Wherefore, the Plaintiff’s Estate claims damages allowed by law. for the
             mental and physical pain suffered by her in consequence of the injury, the
             reasonable expenses occasioned to her estate by the injury, the shortened
             duration of her life and the resulting loss of enjoyment of life caused by
             the injury, and all other elements of damages that may be recovered under
             RSA 556:12.

                           COUNT V – LOSS OF CONSORTIUM

      90.    Plaintiff repeats and realleges every allegation in paragraphs 1-89 as
             though fully set forth herein.

      91.    Robert Vozzella and Judith Vozzella were married on May 19, 1973 and he
             is the surviving spouse of Judith Vozzella.

      92.    As a result of the negligence and breach aforesaid of all Defendants,
             Robert Vozzella, husband of Judith Vozzella, has been deprived of the
             care, comfort, society and companionship of his wife.

      93.    Wherefore, the Plaintiff Robert Vozzella claims damages for the loss of his
             wife’s consortium.

        WHEREFORE, Robert Vozzella demands judgment against all Defendants in an
amount sufficient to fully, fairly and adequately compensate him and the Estate for
their injuries and losses plus costs and interest.




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Dated at Dover, New Hampshire this 1st day of May 2012.

                                      Respectfully submitted,

                                      Robert Vozzella
                                      By His Attorneys,
                                      Shaheen & Gordon, P.A.



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